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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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BOISEY CALDWELL,

                                   Plaintiff,                              19 CIVIL 6534 (OTW)

                 -against-                                                   JUDGMENT
COMMISSIONER OF SOCIAL SECURITY,

                                    Defendant.
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        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

set forth in the Court’s Opinion and Order dated October 21, 2020, the Commissioner’s motion

for judgment on the pleadings is granted, and the complaint is dismissed; accordingly, this case

is closed.

Dated: New York, New York
       October 21, 2020



                                                                      RUBY J. KRAJICK
                                                                   _________________________
                                                                         Clerk of Court
                                                             BY:
                                                                   _________________________
                                                                         Deputy Clerk
